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 6                                   UNITED STATES DISTRICT COURT

 7                                         DISTRICT OF NEVADA

 8                                                    ***
                                                      )
 9   UNITED STATES OF AMERICA,                        )
                                                      )
10                      Plaintiff,                    )        3:08-CR-0006-LRH-RAM
                                                      )
11   v.                                               )
                                                      )        ORDER
12   DARIN JEROME FRENCH, and                         )
     JENNIFER LYNN FRENCH                             )
13                                                    )
                        Defendants.                   )
14                                                    )

15          WHEREAS the court retained the two alternate jurors over the course of the jury’s

16   deliberation upon its verdicts following the trial of the above-entitled action, and good cause

17   appearing,

18          IT IS HEREBY ORDERED that the alternate jurors be paid jury fees through the time of

19   the return of the jury’s verdicts in this action on February 18, 2011.

20          IT IS SO ORDERED.

21          DATED this 23rd day of February, 2011.

22

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                                                               __________________________________
24                                                             LARRY R. HICKS
                                                               UNITED STATES DISTRICT JUDGE
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